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                   IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF UTAH




BUREAU OF CONSUMER FINANCIAL
                                               Case No. 2:19-cv-00298-BSJ
PROTECTION,
                                               (REDACTED VERSION)

      Plaintiff,
                    v.
PROGREXION MARKETING, INC., et al.,



      PLAINTIFF’S MOTION TO EXCLUDE THE TESTIMONY OF
       DEFENDANTS’ PROFFERED EXPERT VICTOR STANGO
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         Under Federal Rules of Evidence, 702, 401, and 403, plaintiff Bureau of

Consumer Financial Protection (Bureau) respectfully moves the Court to exclude

testimony from Victor Stango. The opinions proffered in Dr. Stango’s Report

(Report) and deposition testimony 1 are irrelevant, inadequately substantiated,

speculative, and unqualified. The proffered testimony will confuse, not assist, the

jury, and its admission would be unduly prejudicial.

                                  INTRODUCTION

         Defendants proffer Stango as a damages expert, ECF 196, but he is not.

None of Stango’s proffered opinion testimony meets the threshold requirements for

admissibility under FRE 702.

         First, his proffered opinions pertain to “economic damages.” But the Bureau

does not seek such relief here; rather, the Bureau seeks legal or equitable

restitution and refund of moneys for consumers and statutory penalties. Stango

offers no opinions about those relief categories, and so his proffered testimony is

entirely irrelevant.

         Second, Defendants proffer Stango as an “expert in damages and consumer

economic harm and benefits,” ECF 196, but Stango                      is not a damages




1
    Dr. Stango’s Report (Report) is Exhibit 1; his deposition (Dep.) is Exhibit 2.
                                            1
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expert; he is a behavioral economist. 2 He performed no study applying his

expertise, and actually
                          3



      Third, his opinions lack any validation or support. He did not

                              (a task for which he is not qualified). He criticizes the

Bureau’s relief demand – on legally irrelevant grounds – as



           but failed to quantify or even study the speculative benefits, while

ignoring severe potential harms to consumers here.

      Finally, in “rebutting” Bureau experts Dr. Shane Frederick and Allen

Weinberg, Stango attacks opinions they did not give and offers only speculative

conclusions unsupported by any study or the available facts.

      All of these factors warrant Stango’s exclusion.

                                      ARGUMENT

      The party proffering expert testimony bears the burden of establishing its

admissibility under FRE 702. U.S. v. Nacchio, 555 F.3d 1234, 1241 (10th Cir.

2009). The Court, as “gatekeeper,” must first determine that the proposed expert is


2
  Ex. 1 (Report), p. 1; Ex. 2 (Dep.) 29:13-30:12, 137:8-9
                                   .
3
  Ex. 2 (Dep.) 190:7-193:21.
4
  Ex. 1 (Report), p. 5.
                                             2
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qualified and the testimony is “both reliable and relevant, in that it will assist the

trier of fact, before permitting a jury to assess such testimony.” U.S. v. Rodriguez–

Felix, 450 F.3d 1117, 1122 (10th Cir. 2006).

        FRE 702 sets the standard for the admission of expert testimony, and the

2000 Advisory Committee Notes (2000 Notes) identify factors the Court should

consider in determining admissibility. Additionally, under FRE 403, the Court

should exclude testimony probative value is substantially outweighed by the

danger of unfair prejudice, confusing the issues, misleading the jury, and wasting

time. Marquez v. City of Albuquerque, 399 F.3d 1216, 1221-22 (10th Cir. 2005).

I.      Stango’s testimony is completely irrelevant.

        Stango proposes to testify about “economic damages.” It is unclear what he

means by that term,
                      5
                          But it doesn’t matter because the Bureau does not seek such

relief here: the Bureau seeks legal or equitable restitution and refund of moneys for

consumers, as authorized by the Consumer Financial Protection Act (CFPA), 12

U.S.C. §§ 5565(a)(2)(B), (C). 6

        Restitution is not the same as damages. “Damages are measured by

plaintiff’s losses,” while restitution “focus[es] on defendant’s gain as a measure of

5
    Ex. 2 (Dep.) 138:18-24.
6
    Stango does not address the Bureau’s civil money penalties demand.
                                            3
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recovery.” U.S. ex rel. Taylor v. Gabelli, No. 03-CIV-8762(PAC), 2005 WL

2978921, *4 (S.D.N.Y. Nov. 4, 2005) (collecting cases and citing Dan B. Dobbs,

Law of Remedies: Damages, Equity, Restitution §§ 3.1, 4.1 (2d ed. 1993)). Refund

of moneys means just what it says, and also differs in character from damages

because it is not focused on compensation for losses, but rather on restoring a

consumer victimized by unlawful conduct to the status quo. F.T.C. v. Figgie Int’l,

Inc., 994 F.2d 595, 606-07 (9th Cir.1993).

      Here, the Bureau’s demand for restitution on behalf of consumers overlaps

with its demand for refunds. This relief is determined by totaling the gross

payments that Defendants unlawfully received from consumers and then

subtracting the amounts they previously refunded. F.T.C. v. Freecom Commc’ns,

Inc., 401 F.3d 1192, 1205-07 (10th Cir. 2005); F.T.C. v. Kuykendall, 371 F.3d 745,

765 (10th Cir. 2004) (en banc); see also CFPB v. Gordon, 819 F.3d 1179, 1195

(9th Cir. 2016); C.F.P.B. v. Morgan Drexen, Inc., No. SACV13-1267-JLS(JEMx),

2016 WL 6601650, *2 (C.D. Cal. Mar. 16, 2016). This well-established method of

calculating consumer redress reflects the fact that “[t]he fraud [is] in the selling,

not the value of the thing sold,” and, consequently, the defendant bears the risk of

any uncertainty in the calculation. Figgie Int’l, 994 F.2d at 606; accord Freecom,

401 F.3d at 1206-07.


                                           4
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      Count I alleges that Defendants systematically violated the Telemarketing

Sales Rule (TSR) by charging consumers for credit repair services without

complying with 16 C.F.R. § 310.4(a)(2). Thus, for Count I, the restitution/refund

owed equals the total credit repair customer payments from March 8, 2016 through

the date of judgment, minus refunds, including net payments for initiating services

and purchasing a credit report during enrollment. Exhibits 3 and 4 contain

summary calculations of these amounts for Lexington Law and CreditRepair.com,

respectively.7

      Counts II-V allege that Defendants are liable for engaging in and

substantially assisting deceptive acts and practices. Because the affected

customers’ purchasing decisions were tainted by misrepresentations, Figgie Int’l,

994 F.2d at 606, the restitution/refund due under these counts equals the total

payments hotswapped customers made to Defendants from July 21, 2011 through

the date of judgment, minus refunds, including net payments for initiating services

and purchasing a credit report during enrollment. Exhibits 5 and 6 contain

summary calculations of these amounts for Lexington Law and CreditRepair.com,

respectively.




7
 The cutoff date for the customer data provided by Defendants is July 31, 2020.
The Bureau’s relief calculations reflect that limitation.
                                          5
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        Stango admits

                                                                                  .8

Stango’s unproven hypotheses

                             are irrelevant.9 Figgie Int’l, 994 F.2d at 606 (“Courts

have previously rejected the contention that ‘restitution is available only when the

goods purchased are essentially worthless.’”) (citation omitted). Likewise, the

existence of some supposedly “satisfied” customers does not affect the restitution

calculus. Gordon, 819 F.3d at 1195-96.

        And Stango’s hypotheses presume that restitution requires an individualized

inquiry. Not so. Payments collected from consumers by Defendants without

satisfying the requirements of § 310.4(a)(2) must be refunded in full. Morgan

Drexen, 2016 WL 6601650, *2; F.T.C. v. E.M.A. Nationwide, Inc., No. 1:12-CV-

2394, 2013 WL 4545143, *8 (N.D. Ohio Aug. 27, 2013), aff’d, 767 F.3d 611 (6th

Cir. 2014). Likewise, in consumer deception cases, the government is “not

required…to show any particular purchaser actually relied on or was injured by the

unlawful misrepresentations” since requiring such individualized proof “would

thwart effective prosecutions of large consumer redress actions and frustrate the

statutory goals….” Freecom, 401 F.3d at 1205-06. Rather, “[a] presumption of

8
    Ex. 2 (Dep.) 139:5-141:11.
9
    Ex. 1 (Report), pp. 28-29.
                                          6
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actual reliance arises once the [government] has proved that the defendant made

material misrepresentations, that they were widely disseminated, and that

consumers purchased the defendant’s product.” Figgie Int’l, 994 F.2d at 605-06;

accord Freecom, 401 F.3d at 1206.

      Expert testimony is not needed to quantify consumer redress in this case;

since Defendants have customer payment records, summary testimony suffices.

And Defendants have supplied some of the Count I calculations in their

interrogatory responses. 10 Certainly, though, opinions about a form of relief that is

not at issue would be a complete waste of time and would only create confusion.

Stango’s irrelevant “economic damages” testimony should therefore be excluded.

II.   Stango is unqualified to provide any relevant testimony here.

      Stango                    is not an expert in damages. 11



                          . Having a Ph.D. in economics does not qualify him to

render opinions about any topic in that large field. For example, no evidence exists

that Stango is qualified to testify about factors affecting soybean prices or the auto-

parts supply chain. Similarly, he has no expertise in assessing the relief due to

10
   Ex. 7 (Heath PC’s Supplemental Response to Interrogatory No. 1 (Apr. 30,
2021)); Ex. 8 (CreditRepair.com’s Supplemental Response to Interrogatory No. 1
(May 1, 2021)).
11
   Ex. 2 (Dep.) 137:6-12.
                                           7
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                                                22



      Stango is a behavioral economist who focuses on consumer financial

decision-making.23 He studies behavioral biases, and his work has shown, among

other things, that consumers frequently underestimate the future value associated

with savings compounded over time and the true interest rate associated with short-

term loans. 24 Yet he failed to consider




                         Thus, he disregards his own scholarship in order to serve

Defendants’ litigative interests.

      FRE 702 requires the Court to consider, in its gatekeeper function, whether

the expert is “proposing to testify about matters growing naturally and directly out

of research [the expert has] conducted independent of the litigation,” or whether

the opinions were developed “expressly for purposes of testifying.” FRE 702, 2000

22
   Ex. 2 (Dep.) 124:14-128:8. As this Court is aware, to avoid sanctions for the
unauthorized practice of law, Lexington Law conceded to the South Carolina
Supreme Court that “the providing of credit counseling services does not constitute
the practice of law.” Lexington Law Firm v. S.C. Dep’t of Consumer Affairs, 382
S.C. 580, 588, 677 S.E.2d 591, 595 (2009).
23
   Ex. 2 (Dep.) 29:13-31:25.
24
   Id. 32:1-36:19, 49:11-50:10.
25
   Id. 192:16-193:21, 225:3-226:4.
                                           10
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Notes (citation omitted). Stango’s irrelevant, unqualified, litigation-result-driven

opinions fail this test and should be excluded.

III.   Stango’s opinions are unsupported and unreliable.

       The Court need not address the substance of Stango’s wholly irrelevant

opinions. In any event, those opinions are unsubstantiated and speculative. Stango

did not

            , 26 so his hypotheses cannot be validated. And, although he purports to

have considered

                     , 27 he gives scant attention to and grossly understates obvious

harms, while offering only untested theories and rank speculation about the

supposed benefits.

       A.    Stango’s “benefits” theories are unsupported and unreliable.

       Stango neither documents nor quantifies any of the “benefits” he posits in

his report and admits                             28



       No support exists for Stango’s speculation that

                                      He appears unaware that Defendants’ services




26
   Ex. 2 (Dep.) 138:18-139:4.
27
   Ex. 1 (Report) ¶ 4, p. 2.
28
   Ex. 2 (Dep.) 212:23-213:25, 221:23-222:9.
                                          11
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             analysis, but neither purported to do so. Stango focuses on Frederick’s

work, but does not challenge his data analyses;




                                 . 41 As such, Stango proffers no relevant or helpful

testimony, even in rebuttal.

                                    CONCLUSION

         For these reasons, Stango’s proffered testimony is inadmissible and should

be excluded.



Dated: April 26, 2022                        Respectfully submitted,

                                             /s/ Tracy L. Hilmer
                                             ____________________
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41
     Ex. 2 (Dep.) 242:9-255:8.
                                           16
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  CERTIFICATE OF COMPLIANCE WITH THE WORD-COUNT LIMIT



      I certify that the above motion consists of 3,095 words (excluding the face

sheet, signature block, table of contents, index, and exhibits), according to the

word count function of Microsoft Word, in compliance with the word-count limit

of 3,100 words set by DUCivR 7-1(a)(4)(D).




Dated: April 26, 2022                      /s/ Tracy L. Hilmer
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           Index of Exhibits to the Bureau’s Motion to Exclude Testimony
                                of Victor Stango, Ph.D


  Ex. 1:              Expert Report of Victor Stango (Oct. 25, 2021) and
                      corrections (Dec. 9, 2021) (filed under seal)

  Ex. 2:              Transcript of Dec. 14, 2021 Deposition of Victor Stango
                      DelPonti, Jr. (redacted in part; filed under seal)

  Ex. 3:              Lexington Law Customer Totals (Count I) (filed under seal)

  Ex. 4:              CreditRepair.com Customer Totals (Count I) (filed under
                      seal)

  Ex. 5:              Lexington Law Payments from Hotswapped Customers
                      (Counts II-V) (filed under seal)

  Ex. 6:              CreditRepair.com Payments from Hotswapped Customers
                      (Counts II-V) (filed under seal)

  Ex. 7:              Heath PC’s Supplemental Response to Interrogatory No. 1
                      (Apr. 30, 2021) (filed under seal)

  Ex. 8:              CreditRepair.com’s Supplemental Response to Interrogatory
                      No. 1 (May 1, 2021) (filed under seal)

  Beal Dep.
  Ex. 349:            Lexington Law Service Feature Matrix (filed under seal)

  Beal Dep.
  Ex. 351:            CreditRepair.com Service Feature Matrix (filed under seal)

  Dep. Ex. 482        Devaney, T., “Can I raise my credit score fast?”
                      https://www.creditkarma.com/advice/i/quick-tips-build-
                      credit (accessed Dec. 13, 2021) (screenshot)
